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 8

 9
                          UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11                             SANTA ANA DIVISION
12     TCP INVESTEMENTS, LLC,                   Case No.: 8:19-cv-00516-JLS-DFMx
13
             Plaintiff/Counter-defendant
14
                                                DEFENDANT/
15
       vs.                                      COUNTERCLAIMANT BRIAN
                                                HOROWITZ’S COUNTERCLAIM
16     CREATIVE OUTDOOR                         AGAINST PLAINTIFF/COUNTER-
17     DISTRIBUTORS USA, INC.                   DEFENDANT TCP
18           Defendant                          INVESTMENTS, LLC
19     and BRIAN HOROWITZ,
20
             Defendant/Counterclaimant
21

22

23           COMES NOW Defendant/Counterclaimant Brian Horowitz and for his
24
       Counterclaim against Plaintiff/Counter-defendant TCP Investment, LLC states as
25

26     follows:
27

28                                                                                  1
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 1                       PARTIES, JURISDICTION, AND VENUE
 2
             1.      Brian Horowitz (“Horowitz”) is a resident of Orange County,
 3

 4     California.
 5
             2.      TCP Investments, LLC (“TCP”) is a California limited liability
 6

 7
       company with an address of 9282 Miramar Rd., San Diego, California.

 8           3.      This Court has subject matter jurisdiction under 35 U.S.C. § 271.
 9
             4.      Both Horowitz and TCP are parties to this case; and therefore, venue
10

11     is proper in this Court.
12

13
                                  FACTUAL BACKGROUND

14           5.      On or about September 19, 2014, Horowitz applied for a patent for a
15
       folding wagon having movable wheels that allow axial alignment of all its wheels
16

17     when the wagon is in the contracted closed position.
18
             6.      On or about September 29, 2015, the United States Patent and
19

20
       Trademark Office awarded Horowitz the patent identified as U.S. 9,145,154 B1

21     (“‘154 patent”). A true and correct copy of the ‘154 patent is attached herewith
22
       and incorporated herein as “Exhibit A.”
23

24           7.      Horowitz has made all due efforts to patent mark all wagons he sells
25
       or his licensees sell to put the public and TCP on notice of the ‘154 patent.
26

27

28                                                                                        2
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 1            8.       The patent has 23 claims, including three independent claims and 20
 2
       dependent claims.
 3

 4            9.       Upon information and belief, TCP does business as TCP Global in
 5
       selling products on Amazon.com’s online sales platform.
 6

 7
              10.      Among the products that TCP sells on Amazon.com includes several

 8     variations of a folding wagon (“TCP’s wagons”) that follows each and every
 9
       element of claim number 19 of Horowitz’s ‘154 patent.
10

11            11.      Claim 19 of Horowitz’s ‘154 patent teaches “a basket within which
12
       to carry articles.”
13

14
              12.      TCP’s wagons have a basket that carries articles.

15            13.      Claim 19 of Horowitz’s ‘154 patent teaches “a collapsible frame by
16
       which the folding wagon is folded between an expanded open configuration at
17

18     which said basket is outstretched and a compact closed configuration at which
19
       said basket is collapsed.”
20

21
              14.      TCP’s wagons have a collapsible frame that folds between an

22     expanded position and a compact closed position.
23
              15.      When TCP’s wagons are in the expanded position, the basket is
24

25     outstretched. When TCP’s wagons are in the compact closed position, the basket
26
       is collapsed.
27

28                                                                                          3
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 1           16.      Claim 19 of Horowitz’s ‘154 patent teaches “a pair of front wheels
 2
       connected to the front of the folding wagon, said pair of front wheels being
 3

 4     separated from one another.”
 5
             17.      TCP’s wagons have a pair of front wheels that are separated from
 6

 7
       one another.

 8           18.      Claim 19 of Horowitz’s ‘154 patent teaches “a pair of rear wheels
 9
       connected to the rear of the folding wagon, said pair of rear wheels being
10

11     separated from one another.”
12
             19.      TCP’s wagons have a pair of rear wheels that are separated from one
13

14
       another.

15           20.      Claim 19 of Horowitz’s ‘154 patent teaches “the wheels of a first
16
       pair of front and rear wheels being movable towards and away from one another,
17

18     such that the wheels of the first of said pairs of wheels are moved toward one
19
       another while the wheels of the other one of said pairs of wheels remain
20

21
       separated, so that when said folding wagon is folded to said compact closed

22     configuration, the first of said pairs of wheels is located between the other one of
23
       said pairs of wheels, whereby said pairs of front and rear wheels are axially
24

25     aligned with one another and wherein when the wagon is folded to said compact
26

27

28                                                                                            4
     Case 8:19-cv-00516-JLS-DFM Document 29 Filed 08/30/19 Page 5 of 74 Page ID #:232



 1     closed configuration, an axis of rotation of said pair of front wheels is parallel to
 2
       an axis of rotation of said pair of rear wheels.”
 3

 4           21.    TCP’s wagons have a pair of wheels that move toward one another
 5
       while the other pair of wheels remain separated.
 6

 7
             22.    When one pair of TCP’s wagons’ wheels are moved toward one

 8     another, TCP’s wagons may be folded to a compact closed configuration with
 9
       one pair of wheels located between the other pair of wheels in an axially aligned
10

11     position when the wheels’ rotation are parallel with one another.
12
             23.    Claim 19 of Horowitz’s ‘154 patent does not include any additional
13

14
       claims beyond those stated in paragraphs 10, 12, 15, 17, and 19 of this

15     Counterclaim.
16
             24.    TCP is not authorized to make, import, use, advertise for sale, or sell
17

18     any products that follow any of the claims of the ‘154 patent.
19
             25.    On November 13, 2018, Horowitz lodge a report of infringement of
20

21
       his U.S. Patent No. U.S. D757,637 S (“the ‘637 patent”) against TCP Global

22     products. A copy of this patent is attached herewith and incorporated herein as
23
       “Exhibit B.” TCP disagrees that its products follow the ‘637 patent. However,
24

25     these same accused products follow every element of claim number 19 of
26
       Horowitz’s ‘154 patent.
27

28                                                                                             5
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 1           26.    Even if TCP’s wagons do not infringe on Horowitz’s ‘637 patent,
 2
       they certain infringe on his ‘154 patent; and, therefore, TCP was is not authorized
 3

 4     to sell such wagons.
 5
             27.    TCP continues to sell certain variations of their folding wagons that
 6

 7
       infringe on Horowitz’s patent. True and correct copies of Amazon.com web

 8     pages showing these wagons advertised by TCP are collectively attached
 9
       herewith and incorporated herein as “Exhibit C.”
10

11
                           COUNT I – PATENT INFRINGMENT
12

13
             28.    Horowitz incorporates paragraph nos. 1 through 24 by reference.

14           29.    Horowitz’s ‘154 patent is valid and enforceable.
15
             30.    Whoever without authority makes, uses, offers to sell, or sells any
16

17     patented invention, within the United States or imports into the United States any
18
       patented invention during the term of the patent therefor, infringes the patent. 35
19

20
       U.S.C. § 271(a).

21           31.    Upon information and belief, TCP knew of and intentionally
22
       infringed upon Horowitz’s ‘154.
23

24           32.    Upon information and belief, TCP makes unauthorized wagons that
25
       follow all of the elements of claim 19 of Horowitz’s ‘154 patent.
26

27

28                                                                                          6
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 1            33.       Upon information and belief, TCP uses unauthorized wagons that
 2
       follow all of the elements of claim 19 of Horowitz’s ‘154 patent.
 3

 4            34.       TCP has offered and continues to offer to sell unauthorized wagons
 5
       that follow all of the elements of claim 19 of Horowitz’s ‘154 patent.
 6

 7
              35.       TCP has sold and continues to sell unauthorized wagons that follow

 8     all of the elements of claim 19 of Horowitz’s ‘154 patent.
 9
              36.       TCP’s wagons are literal infringements of Horowitz’s ‘154 patent.
10

11            37.       If not literal infringements, TCP’s wagons are equivalent
12
       infringements of Horowitz’s ‘154 patent.
13

14
              38.       Exhibit C includes photographs of TCP’s wagons that they offer to

15     sell and sell.
16
              39.       TCP’s infringement of Horowitz’s ‘154 patent has caused him
17

18     damages in the amount of lost profits and lost royalties.
19
              40.       TCP is liable for infringing on claim 19 of Horowitz’s ‘154 patent.
20

21                                       RELIEF SOUGHT
22
              41.       For TCP’s infringement upon his ‘154 patent, Horowitz seeks the
23

24     following relief:
25
              a.        An order enjoining TCP from making, using, offering to sell, and/or
26

27
       selling additional wagons that follow the ‘154 patent;

28                                                                                            7
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 2
      determined by the Court.;
 3


 4          c.     A finding that this case is "exceptional" and an award to Horowitz

 5    of its costs and reasonable attorneys' fees, as provided by 35 U.S.C. § 285; and
 6
            d.     All other relief to which Horowitz may be properly awarded.
 7

 8
      WHEREFORE, Defendant/Counterclaimant Brian Horowitz prays this Court
 9

io    enter judgment in his favor and grant him all proper relief.
11
     Date: August 30, 2019
12


13
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 1
                             PROOF OF SERVICE OF DOCUMENT
 2
     I am over the age of 18 and not a party to this proceeding. My business address is: 18101 Von Karman
 3   Avenue, Suite 1200, Irvine, CA 92612

 4   A true and correct copy of the foregoing document entitled (specify): DEFENDANT/
     COUNTERCLAIMANT BRIAN HOROWITZ’S COUNTERCLAIM AGAINST PLAINTIFF/COUNTER-
 5   DEFENDANT TCP INVESTMENTS, LLC will be served or was served (a) on the judge in chambers in
     the form and manner required by Local Rules in the manner stated below:
 6
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On (date) August 30, 2019, I checked the CM/ECF docket for this
 8   bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 9
            Marc C Forsythe
10           mforsythe@goeforlaw.com,kmurphy@goeforlaw.com
            Ben T Lila
11
             blila@mandourlaw.com,jmandour@mandourlaw.com,docketing@mandourlaw.com,ggra
             y@mandourlaw.com
12
            Joseph A Mandour , III
13           jmandour@mandourlaw.com,blila@mandourlaw.com,docketing@mandourlaw.com,ggra
             y@mandourlaw.com
14                                             Service information continued on attached page

15   2. SERVED BY UNITED STATES MAIL:
     On (date) August 30, 2019, I served the following persons and/or entities at the last known addresses in
16   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
     envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
17   judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
     after the document is filed.
18                                                          Service information continued on attached page

19   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
     EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
20   LBR, on (date) August 30, 2019, I served the following persons and/or entities by personal delivery,
     overnight mail service, or (for those who consented in writing to such service method), by facsimile
21   transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
     delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document
22   is filed.

23          The Honorable Douglas F. McCormick, USDC, 411 West Fourth Street, Santa Ana, CA 92701

24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct.
25
      August 30, 2019                  Susan C. Stein                    /s/Susan C. Stein
26    Date                     Printed Name                              Signature

27

28                                                                                                              9
